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                            UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF FLORIDA

                                   PENSACOLA DISTRICT

IN RE: 3m COMBAT ARMS                             Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

                                                  Hon. Judge M. Casey Rodgers
This Document Relates to                          Magistrate Judge Gary R. Jones

               Stephen Blackburn
               7:20-cv-46474


                            NOTICE OF DESIGNATED FORUM


       Pursuant to this Court’s orders, Pretrial Orders 22, 29, and 30, Plaintiff designates his

forum as the Middle District of Florida.



                                       Respectfully Submitted,
Date: April 16, 2020                   H ARE , W YNN , N EWELL & N EWTON , LLP
                                       By:        /s/ Jason W. Earley
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                                CERTIFICATE OF SERVICE

The undersigned, an attorney, certifies that the foregoing Notice of Designation was filed
electronically with the Clerk of Court using the CM/ECF system on April 16, 2020 which will
serve same electronically on all counsel of record.

                                            /s/ Jason W. Earley
